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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


     In re:                                                               Chapter 11

     23ANDME HOLDING CO., et al., 1                                       Case No. 25-40976-357

                              Debtors.                                    (Jointly Administered)



                                DECLARATION AND DISCLOSURE
                              STATEMENT OF GRETCHEN A. RAMOS
                            ON BEHALF OF GREENBERG TRAURIG, LLP

              I Gretchen A. Ramos, declare that the following is true to the best of my knowledge,

 information, and belief:

              1.    I am a Shareholder of Greenberg Traurig, LLP, located at 101 Second Street, Suite

 2200, San Francisco, California 94105 (the “Firm”).

              2.    23andMe Holding Co. and its debtor subsidiaries, as debtors and debtors in

 possession (collectively, the “Debtors”), have requested that the Firm provide Cyber Litigation

 and Regulatory legal services to the Debtors, and the Firm has consented to provide such services

 (the “Services”).

              3.    The Firm may have performed services in the past and may perform services in the

 future, in matters unrelated to these chapter 11 cases, for persons that are parties in interest in the

 Debtors’ chapter 11 cases. As part of its customary practice, the Firm is retained in cases,




 1     The Debtors in each of these cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: 23andMe Holding Co. (0344), 23andMe, Inc. (7371), 23andMe Pharmacy Holdings, Inc. (4690),
       Lemonaid Community Pharmacy, Inc. (7330), Lemonaid Health, Inc. (6739), Lemonaid Pharmacy Holdings Inc.
       (6500), LPharm CS LLC (1125), LPharm INS LLC (9800), LPharm RX LLC (7746), LPRXOne LLC (3447),
       LPRXThree LLC (3852), and LPRXTwo LLC (1595). The Debtors’ service address for purposes of these chapter
       11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.



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 proceedings, and transactions involving many different parties, some of whom may represent or

 be claimants or employees of the Debtors, or other parties-in-interest in these chapter 11 cases.

 The Firm does not perform services for any such person in connection with these chapter 11 cases

 and will use best efforts to avoid any duplication of services provided by any of the Debtors’ other

 Ordinary Course Professionals 2. In addition, the Firm does not have any relationship with any

 such person, their attorneys, or accountants that would be adverse to the Debtors or their estates

 with respect to the matters on which the Firm is to be retained.

         4.       Neither I, nor any principal of, or professional employed by the Firm has agreed to

 share or will share any portion of the compensation to be received from the Debtors with any other

 person other than the principals and regular employees of the Firm.

         5.       Neither I, nor any principal of, or professional employed by the Firm, insofar as I

 have been able to ascertain, holds or represents any interest adverse to the Debtors or their estates,

 with respect to the matters on which the Firm is to be retained.

         6.        The Debtors owe the Firm $1,153,592 for prepetition services, inclusive of costs.

         7.       As of March 23, 2025, the Firm held a prepetition retainer of $0.00.

         8.       The Firm is conducting further inquiries regarding its retention by any creditors of

 the Debtors, and upon conclusion of that inquiry, or at any time during the period of its

 employment, if the Firm should discover any facts bearing on the matters described herein, the

 Firm will supplement the information contained in this declaration.




 2   Capitalized terms used herein but not defined shall have the meaning ascribed to them in the Debtors’ Motion for
     Entry of an Order (I) Authorizing the Retention and Compensation of Certain Professionals Utilized in the
     Ordinary Course of Business and (II) Granting Related Relief [Docket No. 178].


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        9.      I declare under penalty of perjury under the laws of the United States of America

 that the foregoing is true and correct.



 Date: May 6, 2025.                                 ________________________
                                                    Gretchen A. Ramos
                                                    Shareholder
                                                    Greenberg Traurig, LLP




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